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OF TEXAS



NO. WR-80,408-01




IN RE JOSE J. SANTIAGO, Relator




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NO. 1161112 IN THE 248TH DISTRICT COURT
FROM HARRIS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 248th District Court of Harris County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  On October 30, 2013, this Court held
in abeyance and ordered the district clerk to respond as to why the application had not been
forwarded.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On November 12, 2013, this Court received a response from Harris County, indicating the
application had been delivered to the District Attorney on March 11, 2013, and that the district court
entered a timely order designating issues on April 16, 2013.  Relator’s habeas application still has
not been received by this Court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Respondent, the Judge of the 248th District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application.  In the
alternative, Respondent may resolve the issues set out in the order designating issues and then have
the District Clerk submit the record on such application.  In either case, Respondent’s answer shall
be submitted within 30 days of the date of this order.  This application for leave to file a writ of
mandamus will be held in abeyance until Respondent has submitted the appropriate response.
&nbsp;
Filed: December 11, 2013
Do not publish&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


